Case 1:05-cv-01066-.]DT-STA Document 13 Filed 06/03/05 Page 1 of 4 Page|D 15

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UNITED STATES DISTRICT COURT WESTERN DISTRI@§ ' 1
0F TENNESSEE EASTERN DIVISION »/{é¢,/ `3 05

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JAMES A. FOSTER, AND W[FE, 9_./'“¢§ 953/1991

JUNE M. FOSTER; FRANCES /;1359 0@/:“ q

VEAZEY and sECURITY BANK " va£;@;@§-'

& TRUST COMPANY -"/

PLAINT[FFS

v. CASE NUMBER; 1-05-1066-T An

AMERICAN DA}RY QUEEN

CORPORATION

DEFENDANT

SCHEDULING ORDER

Pursuant to the Scheduling conference set by Written notice, the following dates are
established as the final dates for:
INITIAL DISCLOSURES (Rule 26(a)(1): June 21, 2005
JOINING PARTIES:

for Plaintiff: August 5, 2005

for Defendant: Septernber 5, 2005
AMENDING PLEADINGS:

for Plaintiff: August 5, 2005

for Defendant: Septernber 5, 2005
COMPLETING ALL DISCOVERY: December 5, 2005

(a) REQUESTS FOR PRODUCTION, INTERROGATORIES AND
REQUESTS FOR ADMISSIONS: December 5, 2005.

(b) EXPERT DISCLOSURE:

(i) Plaintiff’s experts: October 5, 2005

Thls document entered on the docket sheetlln compliance
with Rule 58 end,'or_79 (a) FRCP en ____Q£L‘ Q(§ §§

Case 1:05-cv-01066-.]DT-STA Document 13 Filed 06/03/05 Page 2 of 4 Page|D 16

(ii) Defendant’s Experts: November 4, 2005
(iii) Supplementation under Rule 26(e): November 14, 2005
(c) DEPOSITIONS OF EXPERTS: December 5, 2005
FILING DISPOSITIVE MOTIONS: February 3, 2006
FINAL LIST OF WITNESSES AND EXHIBITS (Rule 26(a)(3)):
(i) for Plaintiff: March 17, 2006
(ii) for Defendant: April 3, 2006
Parties shall have 10 days after service of final lists of Witnesses and exhibits to file
objections under Rule 26(a)(3).
The trial in this matter is expected to last two days and is SET for NON~JURY Trial on
May 3, 2006, at 9:30 a.m.. A joint Pre-Trial Order is due on April 2l, 2006.
OTHER RELEVANT MATTERS:
lnterrogatories, Requests for Production and Requests for Admissions must be submitted
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery For example, if the FRCP allow 30 days for a party to respond, then the
discovery must be submitted at least 30 days prior to the deadline for completion of discovery
Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or service of the response, answer, or objection which is the subject
of the motion if the default occurs within 30 days of the discovery deadline, unless the time for
filing of such motion is extended for good cause shown, or any objection to the default, response,
or answer shall be Waived.
The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and (a)(l)(B), all
motions, except motions pursuant to FRCP 12,56,59, and 60, shall be accompanied by a

proposed Order and a Certificate of Consultation.

Case 1:05-cv-01066-.]DT-STA Document 13 Filed 06/03/05 Page 3 of 4 Page|D 17

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required.

The parties may consent to trial before the Magistrate .ludge. The Magistrate Judge can
normally provide the parties with a definite trial date that will not be continued unless a
continuance is agreed to by all parties, or an emergency arises Which precludes the matter from
proceeding to trial.

T he parties are encouraged to engage in court-annexed attorney mediation or private
mediation on or before the close of discoverv.

This order has been entered after consultation With trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this Order will not be modified or
extended

It is so ORDERED.

Enter this a day of %m¢ , 2005. cg _%/% @_/ 01 m/
Judge

Steve Greer, ]§PR # 9782
Attorney for Plaintiffs

Admittedpro hac vice FL`,._.'$S.‘¢\_.
Attorney for Defendant

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case l:05-CV-01066 was distributed by fax, mail, or direct printing on
.lune 6, 2005 to the parties listed.

ESSEE

 

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Honorable .l ames Todd
US DISTRICT COURT

